
WHITS, J.,
stated the Case, and delivered the opinion of the Court:
An Indictment for an assault and battery, was found against James Clark, by the name and addition of James Clark, yeoman, to which he pleaded in abatement, that “at the time of the taking of the said Indictment, and long before, he the said James Clark was, and ever since hath been, and still is, a labourer, without that, that he the said James Clark now is, or at the taking of the said Indictment, *or at any time before, was a yeoman, as by the said Indictment is supposed, &amp;c. ” To which plea, the Attorney for the Commonwealth demurred generally, and there was joinder in demurrer. The Superior Court adjourned to this Court several questions, which may be readily understood by the following responses.
This Court is of opinion, and doth decide; 1. That the different estates and degrees known to the Common Law, are not abolished by the Constitution, and Bill of Rights of Virginia, so as to leave inoperative the 41st section of the Act of Assembly of February 26, 1819, (a) directing the estate and degree of a Defendant to be added to his name, in all Indictments, in which the Exigent shall be awarded, except so far as any of those estates or degrees are inconsistent with the principles of our Government, or the Laws of the Commonwealth, which the degrees of yeoman and labourer are not. 2. That a Defendant may abate an Indictment, by shewing that the addition of which he is indicted, is a false one, (b) although he should aver his true addition to be one of lower degree.

 1 Rev. Code, ch. 169, § 41, p. 610.


 The Commonwealth v. Sims, ante, p. 374.

